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2:17-cv-998
Travis and Julie Abbott
v.
E. I. du Pont de Nemours and Company
and
2:18-cv-136
Angela and Teddy Swartz
v.
E. I. du Pont de Nemours and Company

                                      Jury Trial Day 23
                                    Wednesday, February 26, 2020
                                   before Judge Edmund A. Sargus, Jr.

For Plaintiffs: F. Jerome Tapley, Jon Conlin, Mitchell Theodore and Nina Herring
For Defendant: D. Patrick Long, Damond Mace, Aneca Lasley, Robert Fehrenbacher
and John Burlingame
Court Reporter: Darla Coulter, Allison Kimmel, Lahana DuFour and Shawna Evans
Courtroom Deputy: Christin Werner
9:00 a.m. Jury Charge given
10:00 a.m. – 4:15 p.m. Jury deliberates

Jury to return February 28, 2020 at 9:00 a.m. to continue deliberations.
